          Case 1:23-cv-05542-TWT Document 14 Filed 05/20/24 Page 1 of 13




                   IN THE UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION


 CINAMAKER, INC.,                                  CASE NO. 1:23-CV-05542-TWT

               PLAINTIFF,

 VERSUS

 GARY BAKER,

               DEFENDANT


       RESPONSE IN OPPOSITION TO DEFENDANT GARY BAKER’S
                       MOTION TO DISMISS

        Plaintiff Cinamaker, Inc., (“Cinamaker”), respectfully files this Response in

Opposition to the Motion to Dismiss for Failure to State a Claim Upon Which Relief

Can Be Granted (R. Doc. 12, the “Motion to Dismiss”) filed by Defendant Gary

Baker (“Baker”).

                            SUMMARY OF THE ARGUMENT

        Cinamaker filed its complaint in this Court on the grounds of theft and

seeking a declaratory judgment that Mr. Baker is not entitled to a cash payment as

deferred compensation. (R. Doc. 1). Mr. Baker seeks to dismiss Count 3 of the

Complaint concerning the Declaratory Judgment of his deferred compensation, and

in the alternative, seeks to transfer this case to the Central District of California.

#102299654v2                              1
          Case 1:23-cv-05542-TWT Document 14 Filed 05/20/24 Page 2 of 13




The declaratory judgment Cinamaker seeks should not be resolved by a breach of

contract claim. The controversy that exists between the parties concerning Mr.

Baker’s deferred compensation can be resolved by this Court through a declaratory

judgment by looking at the Offer Memorandum itself. (R. Doc. 13, Exhibit A).

Additionally, Cinamaker was the first to file suit and the relevant events of this

action occurred in Atlanta, Georgia. As such, Mr. Baker’s Motion to Dismiss should

be denied and the parties should litigate these issues in Georgia.

                      FACTUAL AND PROCEDURAL HISTORY

         1. On December 4, 2023, Cinamaker filed its Complaint for Theft and

               Declaratory Judgment that Mr. Baker is not entitled to cash compensation

               as his deferred compensation. See R. Doc. 1.

         2. On December 8, 2023, Mr. Baker filed a complaint in the Santa Barbara

               County Superior Court in California against Cinamaker and Benjamin

               Nowak, asserting nine causes of action. These claims included breach of

               contract, unpaid wages, and defamation.

         3. On December 19, 2023, Cinamaker removed the complaint filed in Santa

               Barabara to the Central District of California.

         4. On January 11, 2024, Cinamaker filed a motion to dismiss, or in the

               alternative, to transfer the case from the Central District of California to


#102299654v2                                   2
          Case 1:23-cv-05542-TWT Document 14 Filed 05/20/24 Page 3 of 13




               the Northern District of Georgia. The basis for transferring this suit

               centered on the similarities between the California and Georgia action and

               the fact that both suits arose out of the Offer Memorandum.

          5. Thereafter, Mr. Baker opposed the motion, to which Cinamaker

               responded, and the Central District of California has had the motion under

               submission since February 5, 2024.1

                                       LAW AND ARGUMENT

    I.   Rule 12(b)(6) Legal Standard

         “When considering a 12(b)(6) motion to dismiss, the Court must accept as

true the allegations set forth in the complaint, drawing all reasonable inferences in

the light most favorable to the plaintiff.” Staley, 2021 U.S. Dist. LEXIS 120416, at

*10-11 (relying on Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555-56, 127 S. Ct.

1955, 167 L. Ed. 2d 929 (2007) and U.S. v. Stricker, 524 F. App'x 500, 505 (11th

Cir. 2013) (per curiam)). The complaint must offer more than labels and conclusions.

Id. (relying on Ashcroft v. Iqbal, 556 U.S. 662, 678, 129 S. Ct. 1937, 173 L. Ed. 2d

868 (2009)). The “complaint must contain sufficient factual matter, accepted as true,

to state a claim to relief that is plausible on its face.” Id. (internal quotations omitted).


1
 See R. Doc. 13 for Removal Action and Motion to Dismiss. Cinamaker incorporates all arguments from the
Removal and Motion to Dismiss filed in the Central District of California into this instant action. See also Exhibit A
– Reply Brief in Support of the Motion to Dismiss.


#102299654v2                                              3
          Case 1:23-cv-05542-TWT Document 14 Filed 05/20/24 Page 4 of 13




“Put another way, a plaintiff must plead factual content that allows the court to draw

the reasonable inference that the defendant is liable for the misconduct alleged.” Id.

II.     There is a Justiciable Controversy in the Declaratory Judgment Action

        The purpose of a declaratory judgment is to “settle and afford relief from

uncertainty and insecurity with respect to rights, status, and other legal relations; and

this chapter is to be liberally construed and administered.” O.C.G.A. § 9-4-1.

Furthermore, “[t]he object of the declaratory judgment is to permit determination of

a controversy before obligations are repudiated or rights are violated.” Walker v.

Owens, 298 Ga. 516, 518, 783 S.E.2d 114, 116 (2016).

        The Eleventh Circuit has outlined nine guideposts to determine whether a

district court should abstain from issuing a declaratory judgment. In re Owners Ins.

Co., No. 1:22-CV-04225-SCJ, 2023 U.S. Dist. LEXIS 236014, at *8 (N.D. Ga. Sep.

7, 2023) The guideposts include: (1) the strength of the state's interest in having the

issues raised in the federal declaratory action decided in the state courts; (2) whether

the judgment in the federal declaratory action would settle the controversy; (3)

whether the federal declaratory action would serve a useful purpose in clarifying the

legal relations at issue; (4) whether the declaratory remedy is being used merely for

the purpose of "procedural fencing"—that is, to provide an arena for a race for res

judicata or to achieve a federal hearing in a case otherwise not removable; (5)


#102299654v2                                4
          Case 1:23-cv-05542-TWT Document 14 Filed 05/20/24 Page 5 of 13




whether the use of a declaratory action would increase the friction between our

federal and state courts and improperly encroach on state jurisdiction; (6) whether

there is an alternative remedy that is better or more effective; (7) whether the

underlying factual issues are important to an informed resolution of the case; (8)

whether the state trial court is in a better position to evaluate those factual issues

than is the federal court; and (9) whether there is a close nexus between the

underlying factual and legal issues and state law and/or public policy, or whether

federal common or statutory law dictates a resolution of the declaratory judgment

action. Id.

        The issues Mr. Baker focuses on in his Motion to Dismiss center on the second

and third guideposts: whether the judgment in the federal declaratory action would

settle the controversy and whether the federal declaratory action would serve a useful

purpose in clarifying the legal relations at issue. Id. Mr. Baker argues that there is

no “continuing controversy” because “the harm has been done.” (R. Doc. 12). In the

Offer Memorandum executed between Mr. Baker and Cinamaker, it states that the

parties will mutually agree at a later time on method of Mr. Baker’s deferred

compensation, i.e. stock, cash, etc. This is not a matter of asking this Court to declare

whether there are damages, but instead asking the Court to recognize what the

agreement clearly states: the parties will agree at a later date on the method of


#102299654v2                               5
          Case 1:23-cv-05542-TWT Document 14 Filed 05/20/24 Page 6 of 13




deferred compensation.

        Further, Mr. Baker purports that this issue is a breach of contract claim that

Cinamaker is seeking a declaration on. This, however, is not true. Cinamaker is

simply asking the Court to declare that cash compensation as the form of deferred

compensation is not mandated or required based on the language of the agreement.

Cinamaker is not focusing on whether deferred compensation is owed, but instead

whether cash is the avenue by which the deferred compensation must be paid. This

issue can easily be resolved by the Court, and the declaratory judgment “would settle

the controversy.” Id. Mr. Baker’s argument that the “harm has been done” is

inaccurate because he is not being denied the deferred compensation; once the

controversy is resolved concerning the type of compensation Mr. Baker is owed, he

will receive it.

III.    Cinamaker’s Claim for Declaratory Judgement is Proper

        Additionally, Mr. Baker argues that Cinamaker is not seeking guidance for

future actions but instead a declaration for its past conduct, which would be asking

the Court to issue an “advisory” opinion. Mr. Baker alleges that he is entitled to cash

compensation as his method of deferred compensation. Both of these sentiments,

however, are incorrect. Cinamaker’s declaratory action is seeking guidance for a

future action because Cinamaker is asking the Court to declare that Mr. Baker is not


#102299654v2                               6
          Case 1:23-cv-05542-TWT Document 14 Filed 05/20/24 Page 7 of 13




entitled to cash compensation as his form of deferred compensation based on the

language of the Offer Memorandum. As stated previously, Cinamaker is seeking this

declaration because the offer clearly states that the parties will mutually agree at a

later time as to the form of Mr. Baker’s deferred compensation. The issue is not

whether deferred compensation is owed but whether cash must be used as the form

of deferred compensation. Therefore, Cinamaker is not seeking an advisory opinion

because Cinamaker is not seeking a declaration as to whether it owes damages as

alleged by Mr. Baker. Mr. Baker focuses on damages and concludes that the current

matter can be resolved by a breach of contract claim rather than a simple reading and

recognition of the Offer Memorandum.

        Further, Mr. Baker incorrectly summarizes Cinamaker’s purpose for the

declaratory judgment by insisting that this issue can be resolved by a breach of

contract claim. There is no breach of contract claim concerning Mr. Baker’s deferred

compensation because Cinamaker is not refusing to give Mr. Baker deferred

compensation. As stated in the Complaint “Cinamaker at all times has been ready

and willing to issue Mr. Baker his deferred compensation in stock . . . Mr. Baker has

refused to accept the stock and maintains he is entitled to cash payment.” (R. Doc.

1). A true controversy exists and continues to exist due to Cinamaker and Mr.

Baker’s disagreement concerning the language of the offer and whether cash is


#102299654v2                              7
          Case 1:23-cv-05542-TWT Document 14 Filed 05/20/24 Page 8 of 13




mandated as the form of deferred compensation. For these reasons, Mr. Baker’s

Motion to Dismiss Count 3 of Cinamaker’s complaint should be denied.

IV.     The Northern District of Georgia is the Proper Forum for this

        Controversy

        Finally, Mr. Baker claims that the current case should be transferred to the

Central District of California if the motion to dismiss were denied. Mr. Baker

purports that a California District Court is a more advantageous forum for resolution

of claims brought under California statutes. (R. Doc. 12). Georgia, however, is the

proper forum for this dispute for several reasons: (1) Mr. Baker contracted with

Cinamaker, which he knew to be a Georgia company and he is a shareholder in the

company; (2) Mr. Baker traveled to Georgia on multiple occasions to perform work

for Cinamaker; and (3) Mr. Baker also attended several meetings in Georgia in order

to meet with contractors and investors. (R. Doc. 13, Exhibit C).

        When considering a request to transfer pursuant to § 1404(a), the court must

engage in a two-step inquiry. First, the court must determine whether the action

could originally have been brought in the proposed transferee district court. Merswin

v. Williams Cos. Inc., No. 1:08-CV-2177T, 2009 U.S. Dist. LEXIS 7928, 2009 WL

249340, at *5 (N.D. Ga. Jan. 30, 2009). Second, the court must determine whether

the action should be transferred “for the convenience of [the] parties and witnesses,


#102299654v2                              8
          Case 1:23-cv-05542-TWT Document 14 Filed 05/20/24 Page 9 of 13




[and] in the interest of justice.” 28 U.S.C. § 1404(a). There are several factors to

consider for the second step, including: (1) the plaintiff’s chosen forum; (2) the

accessibility of witnesses and other sources of proof; (3) the cost of making the

necessary proof; (4) the questions as to the enforceability of a judgment if one is

obtained; (5) the relative advantages and obstacles to a fair trial; (6) the difficulties

that may arise from congested dockets; (7) the possibility of the existence of

questions arising in the area of conflict of laws; (8) the advantage of having a local

court determine questions of local law, and (9) the practical considerations that may

make a trial easy, expeditious, and economical. Gilbert-Daniels v. Lions Gate Ent.

Corp., No. 1:22-CV-140-MHC, 2023 U.S. Dist. LEXIS 90524, at *3-4 (N.D. Ga.

Mar. 20, 2023).

Mr. Baker proposes that factors (2) through (7) are equal because Mr. Baker worked

in the Central District of California. This position is incorrect for several reasons.

        First, a substantial amount of events giving rise to Mr. Baker’s claims

occurred in Atlanta, Georgia, and the business with which Mr. Baker is alleging

wrongful conduct (and of which he is a stockholder) has its principal place of

business located in Atlanta, Georgia. Therefore, the relevant Cinamaker witnesses

and documents are all located within this District. Also, a review of the docket data

shows that the Central District of California has more than two times the number of


#102299654v2                                9
         Case 1:23-cv-05542-TWT Document 14 Filed 05/20/24 Page 10 of 13




pending cases than the Northern District of Georgia. See Exhibit B, Docket Data.

Therefore, factors 2-7 favor a denial of the Motion to Transfer.

        As for the first factor, a plaintiff’s choice of forum is given great deference.

Reginald Martin Agency, Inc. v. Conseco Med. Ins. Co., No. 1:03-CV-3810-RWS,

2005 U.S. Dist. LEXIS 28802, at *5 (N.D. Ga. Sep. 10, 2005). As mentioned before,

Cinamaker’s principal place of business is located in Atlanta Georgia, which

disfavors transferring this action since the Court “must afford plaintiff’s forum a

substantial degree of deference, particularly when plaintiff has filed suit in [its] home

state.” Phillips v. FedEx Ground Package Sys., No. 1:19-CV-1386-LMM, 2019 U.S.

Dist. LEXIS 230666, at *14 (N.D. Ga. June 24, 2019). More importantly, if “the

transfer would merely shift inconvenience from one party to the other, or if the

balance of factor[s] is but slightly in favor of the movant, plaintiff’s choice of

forum should not be disturbed and transfer should be denied.” Sarvint Techs., Inc. v.

Omsignal, Inc., 161 F. Supp. 3d 1250,1266 (N.D. Ga. 2015). Cinamaker’s choice of

forum should not be disturbed “unless it is clearly outweighed by other

considerations.” Nederland B.V. v. Tec Holdings, Inc., No. 1:17-CV-02864-LMM,

2018 U.S. Dist. LEXIS 239869, at *6 (N.D. Ga. Jan. 2, 2018). The arguments Mr.

Baker set forth are insufficient to outweigh Cinamaker’s choice of forum and are

thus insufficient to warrant a transfer.


#102299654v2                               10
         Case 1:23-cv-05542-TWT Document 14 Filed 05/20/24 Page 11 of 13




        Mr. Baker further argues that a California district court is the proper forum

for litigating because Mr. Baker’s claims concern California’s Labor Code. The

Offer memorandum does not have a choice of law or choice of venue provision and

Cinamaker takes the position that Georgia law applies.          Regardless, even if

California law applied, it would not limit or prohibit this Court from being able to

decide the merits of this case. If all cases were transferred simply because the suit

concerned a different forum’s law, the efficiency of the legal system would be in

jeopardy. California’s labor code is not so incomprehensible that courts outside of

California are unable to analyze and apply the law. For these reasons, Mr. Baker’s

inflated concerns about this Court being able to handle his breach of contract and

unpaid wages claims are unwarranted.

        Furthermore, Cinamaker was the first to file its complaint in the Northern

District of Georgia. (R. Doc. 1). Mr. Baker chose to file his complaint in California

despite the similarities between the actions after Cinamaker had filed suit.

Cinamaker filed its complaint in this Court because there exists a genuine dispute as

to whether Mr. Baker is entitled to cash or stock under the terms of the Offer

Memorandum. As stated in the complaint, Cinamaker’s position is that the deferred

compensation accrued as stock; however, Mr. Baker purports that he is entitled to

cash. (R. Doc. 1). Cinamaker does not dispute the similarities between the suits filed


#102299654v2                              11
         Case 1:23-cv-05542-TWT Document 14 Filed 05/20/24 Page 12 of 13




in Georgia and California, which is why Cinamaker sought to transfer the suit in

California to this Court. Mr. Baker glosses over the fact that Cinamaker filed its

action first for theft and for a declaratory judgment. The first-to-file rule only

requires substantially similar or overlapping issues—not issues that are nearly

identical. Sexton v. Forefront Dermatology, P.C., No. 1:23-cv-05833-ELR-RDC,

2024 U.S. Dist. LEXIS 62219, at *7 (N.D. Ga. Apr. 4, 2024). Both Cinamaker and

Mr. Baker’s claims arise out of the Offer Memorandum. As such, this case should

not be transferred to the Central District of California.

                                   CONCLUSION

        For the foregoing reasons, Defendant’s Motion to Dismiss, or in the

alternative transfer, should be denied.



                                          Respectfully submitted,
                                          /s/ David J. Forestner
                                          DAVID J. FORESTNER
                                          Georgia Bar No. 269177
                                          JONES WALKER LLP
                                          3455 Peachtree Road, NE, Suite 1400
                                          Atlanta, Georgia 30326
                                          (404) 870-7527




#102299654v2                                12
         Case 1:23-cv-05542-TWT Document 14 Filed 05/20/24 Page 13 of 13




                      CERTIFICATION OF COMPLIANCE

        The undersigned counsel hereby certifies that the foregoing has been prepared

with Times New Roman 14-Point Font, as approved in L.R. 5.1C.


                                       /s/ David J. Forestner
                                        DAVID J. FORESTNER



                          CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and correct copy of the foregoing

has been electronically filed using the Court’s CM/ECF system which will serve a

true and correct copy of same upon all counsel of record.

                                       /s/ David J. Forestner
                                        DAVID J. FORESTNER




#102299654v2                              13
